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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL

   Case No.     CV 22-9462-DMG (ADSx)                                    Date    February 22, 2023

   Title BackGrid USA, Inc. v. Twitter, Inc. et al.


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 Kane Tien                                                 Not Reported
                Deputy Clerk                                               Court Reporter

      Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
                Not Present                                                Not Present

  Proceedings: IN CHAMBERS - REASSIGNMENT OF CASE TO JUDGE GEE

         Please take notice that this action has been reassigned to the HONORABLE DOLLY M.
  GEE, United States District Judge, pursuant to the Order re Reassign Pursuant to General Order
  12-02 filed on February 16, 2023.

          Please substitute the initials DMG in place of the current initials, so that the case number
  will now read CV 22-9462-DMG (ADSx). As documents are routed using the judge's initials, it
  is imperative that the correct initials DMG be used on all subsequent filings to prevent any delays
  in the processing of documents.

         Judge Gee's Courtroom Deputy Clerk is Kane Tien. He can be reached at (213) 894-5452.
  Judge Gee's courtroom is located on the 8th floor of the First Street Courthouse, Courtroom # 8C.

          Additional information about Judge Gee's procedures and schedules is available on the
  court's website at www.cacd.uscourt.gov.




   CV-90                             CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk KT
